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  7KH+RQRUDEOH$OLVRQ-1DWKDQ
  8QLWHG6WDWHV'LVWULFW&RXUW
  6RXWKHUQ'LVWULFWRI1HZ<RUN                                               3/17/2021
  )ROH\6TXDUH5RRP
  1HZ<RUN1<

                 5H    United States ex rel. Lacey v. Visiting Nurse Service of New York
                         1RFY 

 'HDU-XGJH1DWKDQ

        :HZULWHRQEHKDOIRI5HODWRU(GZDUG/DFH\FRQFHUQLQJ5HODWRU¶V0RWLRQIRU$WWRUQH\V¶
 )HHV&RVWVDQG([SHQVHV 'NW 

         $VVWDWHGLQWKHSDUWLHV¶)HEUXDU\MRLQWOHWWHU 'NW WKHSDUWLHVKDYHUHDFKHG
 DVHWWOHPHQWLQFRQQHFWLRQZLWK5HODWRU¶V0RWLRQIRU$WWRUQH\V¶)HHV&RVWVDQG([SHQVHV 'NW
  WKHUHIRUH5HODWRUUHVSHFWIXOO\ZLWKGUDZVWKDWPRWLRQ
                                       ZLWKGUDZVWKDWPRWLRQ

         :HWKDQNWKH&RXUWIRULWVDWWHQWLRQWRWKLVPDWWHU

SO ORDERED.                                             5HVSHFWIXOO\VXEPLWWHG


                                                        /s/ Daniel Vitelli
                          3/16/2021

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 FF$OO&RXQVHORI5HFRUG YLD(&) 
